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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF

v.                            CASE NO. 4:14CR00248-22 BSM

MARC PHILLIP MASSA                                                       DEFENDANT

                                        ORDER

      The government’s motion to dismiss the indictment and superseding indictment

against Marc Phillip Massa without prejudice [Doc. No. 515] is granted and the indictment

[Doc. No. 3] and superseding indictment [Doc. No. 170] are dismissed without prejudice.

See Fed. R. Crim. P. 48(a).

      IT IS SO ORDERED this 1st day of September 2016.




                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
